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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA                          *
                                                   *           CRIMINAL NO. 09-00240-KD
 v.                                                *
                                                   *
 JOSE NORIEGA, et. al.                             *

                             FINAL JUDGMENT OF FORFEITURE

        WHEREAS, on February 12, 2010, a jury found the defendant, JOSE NORIEGA,

 guilty of conspiracy to possess with the intent to distribute marijuana, in violation of Title 21,

 United States Code, Section 846, as set forth in Count One and possession with intent to

 distribute marijuana, in violation of United States Code, Section 841(a)(1) (Count Two) as set

 forth in the Superseding Indictment. On February 12, 2010, the defendant was found guilty at a

 jury trial of Counts One and Two of the Superseding Indictment. After a hearing before the jury

 regarding the forfeiture, the jury found that the United States had established the requisite nexus

 between the property and the offenses committed by the defendant pursuant to Federal Rules of

 Criminal Procedure 32.2(b)(4). The specific real property the jury found to be forfeitable as to

 the defendant is as follows:

        (1). All of that lot or parcel of land, together with it’s building, appurtenances,
        improvements, fixtures, attachments and easements, that would constitute the
        residence, curtilage and outlying property known as 8500 Chutney Drive, Eight
        Mile, Alabama, which property is more particularly described as:


        PARCEL 1:
        Lot 44 Spice Pond Estates, Unit 3, a subdivision, according to a map or plat thereof
        which is on file of record in the Office of the Judge of Probate of Mobile County,


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        Alabama, in Map Book 20, page 90.
        PARCEL 2:
        That parcel of land in the SW 1/4 of the NW 1/4 of Section 1, Township 3 South,
        Range 3 West, lying West of the East line of Lot 44, Spice Pond Estates, Unit Three,
        according to the plat thereof recorded in Map Book 20, page 90 in the records of the
        Office of the Judge of Probate, Mobile County, Alabama, if said line was extended
        Northwardly to the North line of said SW 1/4 of the NW 1/4 of said section.
        LESS AND EXCEPTING THEREFROM such oil, gas and other minerals in, on
        and under the above described real property, together with all rights in connection
        therewith, as have previously been reserved by or conveyed to others.


         WHEREAS, the United States properly published notice of the forfeiture

 of the above-described property and the requirements for filing a claim for the property for 30

 consecutive days starting March 13, 2010, on www.forfeiture.gov . A Proof of Publication was

 filed on April 20, 2010 (Doc. 224), specifying the details of this publication. No third-parties

 have come forward to assert an interest in the subject property in the time required under Title

 21, U.S.C. § 853(n).

        NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

 that the following property is forfeited to the United States of America pursuant to Title 21,

 United States Code, Sections 846 and 853, and Federal Rule of Criminal Procedure 32.2(b), for

 disposition according to law:

        (1). All of that lot or parcel of land, together with it’s building, appurtenances,
        improvements, fixtures, attachments and easements, that would constitute the
        residence, curtilage and outlying property known as 8500 Chutney Drive, in Eight
        Mile, Alabama, which property is more particularly described as:
        PARCEL 1:
        Lot 44 Spice Pond Estates, Unit 3, a subdivision, according to a map or plat thereof
        which is on file of record in the Office of the Judge of Probate of Mobile County,

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        Alabama, in Map Book 20, page 90.


        PARCEL 2:
        That parcel of land in the SW 1/4 of the NW 1/4 of Section 1, Township 3 South,
        Range 3 West, lying West of the East line of Lot 44, Spice Pond Estates, Unit Three,
        according to the plat thereof recorded in Map Book 20, page 90 in the records of the
        Office of the Judge of Probate, Mobile County, Alabama, if said line was extended
        Northwardly to the North line of said SW 1/4 of the NW 1/4 of said section.
        LESS AND EXCEPTING THEREFROM such oil, gas and other minerals in, on
        and under the above described real property, together with all rights in connection
        therewith, as have previously been reserved by or conveyed to others.

        IT IS FURTHER ORDERED that the Court shall retain jurisdiction of the case for the

 purpose of enforcing this Order; and

        IT IS FURTHER ORDERED that the Clerk of the Court shall forward six (6) certified

 copies of this Order to Assistant United States Attorney George F. May.

        DONE and ORDERED this 21st day of May, 2010.



                                             s/ Kristi K. DuBose
                                             KRISTI K. DuBOSE
                                             UNITED STATES DISTRICT JUDGE




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